                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                            Case No. 6D2023-3319
             Lower Tribunal Nos. 23-DR-002392 and 2023-DR-1559
                      _____________________________

                               JAMES T. BURN, II,

                                   Appellant,
                                        v.

                          JENNISSHA MARIE CASILLAS,

                                    Appellee.
                       _____________________________

               Appeal from the Circuit Court for Osceola County.
                           Michael J. Snure, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

STARGEL, WHITE and GANNAM, JJ., concur.


Jesse A. Haskins, of J. Haskins Law, P.A., Savannah, Georgia, for Appellant.

Jennissha Marie Casillas, Kissimmee, pro se.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
